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 1   [Submitting Counsel on Signature Page]
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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
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11    IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
12    PRODUCTS LIABILITY LITIGATION                     MDL No. 3047
13                                                   CORRECTED NOTICE OF FILING
                                                     PROPOSED ORDER CREATING THE
14    This Document Relates to:                      GOVERNMENT ENTITY SUBCOMMITTEE
15    ALL ACTIONS
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            Co-Lead Counsel respectfully file the attached proposed order creating the Government
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     Entity Subcommittee (“GEC”), which would be responsible to oversee and litigate issues unique
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     to the school district and other governmental cases currently filed, as well as those filed in the
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     future, under the direction of Co-Lead Counsel. See CMO No. 2, at 2, § I(A)(6) (ECF No. 82)
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     (providing Co-Lead Counsel the authority to create additional subcommittees and delegate
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     specific tasks to those subcommittees . . . “); see also id. at 4, § I(C) (authorizing Co-Lead
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     Counsel to “designate additional subcommittees”). The GEC consists of six attorneys who
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                                                                               NOTICE OF FILING PROPOSED ORDER
                                                                                      CASE NO. 4:22-MD-03047-YGR
      Case 4:22-md-03047-YGR Document 310 Filed 06/12/23 Page 2 of 3



 1   represent school districts and/or other government entities, and have filed complaints on their
 2   behalf in this litigation. Co-Lead Counsel, the Plaintiffs’ Steering Committee, and the proposed
 3   GEC members support the appointment of the GEC as outlined in the attached proposed order.
 4

 5   Dated: June 12, 2023                         Respectfully submitted,
                                                  SEEGER WEISS, LLP
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 7                                                By: /s/ Christopher A. Seeger
                                                      Christopher A. Seeger (pro hac vice)
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11                                                & BERNSTEIN, LLP
12                                                By: /s/ Lexi J. Hazam
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13                                                lhazam@lchb.com
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17                                                By: /s/ Previn Warren
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20                                                Plaintiffs’ Co-Lead Counsel
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                                                     -2-                     NOTICE OF FILING PROPOSED ORDER
                                                                                    CASE NO. 4:22-MD-03047-YGR
     Case 4:22-md-03047-YGR Document 310 Filed 06/12/23 Page 3 of 3



 1                                         ATTESTATION
       I, Christopher A. Seeger, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the
 2

 3     concurrence to the filing of this document has been obtained from each signatory hereto.

 4
     DATED: June 12, 2023                             /s/ Christopher A. Seeger
 5                                                    Christopher A. Seeger (pro hac vice)
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                                                   -3-                      NOTICE OF FILING PROPOSED ORDER
                                                                                   CASE NO. 4:22-MD-03047-YGR
